                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF IOWA
                              WESTERN DIVISION



 UNITED STATES OF AMERICA,
                Plaintiff,                                    No. CR11-4065-MWB
 vs.                                                  ORDER REGARDING
                                                 MAGISTRATE’S REPORT AND
 ANGEL AMAYA,                                         RECOMMENDATION
                                                  CONCERNING DEFENDANT’S
                Defendant.                           MOTION TO SUPPRESS
                                    ____________________

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                      I. INTRODUCTION AND BACKGROUND
                                A. Procedural Background
       On May 18, 2011, an Indictment was returned against defendant Angel Amaya and
three co-defendants charging them with conspiracy to possess with intent to distribute 50
grams or more of pure methamphetamine or 500 grams of methamphetamine, 5 kilograms
or more of cocaine, and marijuana, in violation of 21 U.S.C. § 841(a)(1), 841(b)(1)(A),
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841(b)(1)(C), and 846.       On June 10, 2011, defendant Amaya filed a motion to suppress
evidence in which he seeks to suppress evidence seized during a search of his residence
conducted pursuant to a search warrant, during a consent search of his parents’ trailer
home, and during a search of his vehicle. He also requests a hearing pursuant to Franks
v. Delaware, 438 U.S. 154 (1978), to challenge the affidavit submitted in support of the
search warrant application for his residence. Defendant Amaya argues that the affidavit
submitted in support of the search warrant application for his residence was insufficient
to establish probable cause to support the issuance of the warrant. Thus, he argues the
evidence was found in violation of the Fourth Amendment of the United States
Constitution. Defendant Amaya also argues the information in the affidavit was stale. He
further argues that the law enforcement officer who obtained the search warrant withheld
information from the issuing magistrate that, if it had been disclosed, would have resulted



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         On July 28, 2011, a Superceding Indictment was returned against defendant
Amaya, and five co-defendants charging them with conspiracy to possess with intent to
distribute 50 grams or more of pure methamphetamine or 500 grams of methamphetamine,
5 kilograms or more of cocaine, and marijuana, in violation of 21 U.S.C. § 841(a)(1),
841(b)(1)(A), 841(b)(1)(C), and 846. In addition, the Superceding Indictment charges
defendant Amaya and three co-defendants with conspiracy to commit money laundering,
in violation of 18 U.S.C. §§ 1956(a)(1)(A)(i), 1956(a)(1)(B)(i), 1956(a)(1)(B)(ii), and
1956(h).

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in the warrant not being issued. Amaya contends that if these facts had been disclosed to
the issuing magistrate, she would not have issued the search warrant, and argues that the
items seized from his residence pursuant to the warrant should be suppressed under
Franks, 438 U.S. at 154. Amaya further seeks suppression of evidence seized during a
consent search of his parents’ trailer home as “the fruit of the poisonous tree” because it
followed from the allegedly defective search of his house. Finally, defendant Amaya
requests the court suppress evidence seized from his vehicle at the time of his arrest. The
prosecution filed a timely resistance to defendant Amaya’s motion.
       Defendant Amaya’s motion to suppress was referred to Chief United States
Magistrate Judge Paul A. Zoss, pursuant to 28 U.S.C. § 636(b). On July 7, 2011, Judge
Zoss conducted an evidentiary hearing. On August 8, 2011, Judge Zoss filed a Report
and Recommendation in which he recommends that defendant Amaya’s motion to suppress
be denied.
       In his Report and Recommendation, Judge Zoss concluded the facts contained in the
search warrant application were more than sufficient for the magistrate to conclude that
drugs or other evidence of criminal activity likely would be found at Amaya’s residence.
Judge Zoss further concluded that while the evidence from an informant was several
months old, recently developed evidence was included in the search warrant application
which prevented the information from being stale. Alternatively, Judge Zoss found that
even if probable cause did not support the search warrant, suppression of the evidence
seized pursuant to that warrant is not appropriate because the Leon good-faith exception
applies. See United States v. Leon, 468 U.S. 897, 922-23 (1984). In addition, Judge Zoss
found defendant Amaya had failed to establish a Franks violation because he offered no
evidence to show that the law enforcement officer who signed the search warrant affidavit
intentionally or recklessly omitted from the affidavit information that would have been

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“clearly critical” to a finding of probable cause. Judge Zoss further concluded that
defendant Amaya’s challenge to the consent search of his parents’ trailer as “the fruit of
the poisonous tree” should be denied because the search warrant was not unlawful. Judge
Zoss also concluded that defendant Amaya lacked standing to challenge the search of his
parents’ trailer. Finally, Judge Zoss found defendant Amaya failed to establish any
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grounds for suppressing anything seized during the search of his vehicle.          Therefore,
Judge Zoss recommended that defendant Amaya’s Motion to Suppress be denied.
      Defendant Amaya has filed objections to Judge Zoss’s Report and Recommendation.
The prosecution filed a timely response to defendant Amaya’s objections. I, therefore,
undertake the necessary review of Judge Zoss’s recommended disposition of defendant
Amaya’s motion to suppress.


                                B. Factual Background
      In his Report and Recommendation, Judge Zoss made the following findings of fact:
                    On February 16, 2011, Didier Cancino-Torres was
             indicted in this court on drug distribution charges. See United
             States v. Cancino-Torres, 11 CR 4013, Superseding
             Indictment, Doc. No. 13. On March 2, 2011, federal agents
             conducted a proffer interview of Cancino. Gov’t Ex. 2, pp. 1-
             5. Cancino initially minimized the extent of his drugs
             dealings, but admitted that he had obtained methamphetamine
             from someone named “Angel”on two occasions. He stated
             that his first purchase of methamphetamine from Angel was
             two ounces and the second was three and one-half ounces.
             Later in the interview, Cancino was warned by the agents not


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       Judge Zoss noted that the prosecution represented that no evidence seized from
defendant Amaya’s vehicle will be offered by it at trial. Report and Recommendation at
13-14.

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            to lie, and after he consulted privately with his attorney, he
            admitted that he had purchased a total of a pound and a quarter
            of methamphetamine from Angel. Later in the interview he
            admitted that the quantity might have been larger. Cancino
            provided the agents with Angel’s telephone number, and told
            them that Angel drove a dark gray or blue/gray 2003 or 2004
            Dodge pickup and lived in a trailer off of Morningside Avenue
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            near a gas station.

                    On April 4, 2011, Cancino signed a plea agreement in
            which he agreed to cooperate with law enforcement. Doc. No.
            51-1, 11 CR 4013. On April 27, 2011, Cancino gave a second
            proffer to the drug agents. Id., pp. 6-8. He was shown a
            copy of the report of his first interview and was asked for any
            corrections. In response, he described additional drug dealing
            activities with Angel. He also identified Amaya from a
            photograph as being the “Angel” with whom he had been
            dealing. The next day, on April 28, 2011, Cancino pled guilty
            to four drug distribution charges in this court. Doc. No. 53,
            11 CR 4013.

                    The officers then conducted at least one “trash pull” at
            Amaya’s residence. They found vacuum-sealed bags, one of
            which smelled strongly of marijuana; two digital scale boxes;
            and loose plastic wrap consistent with wrappings used to
            bundle drugs. On May 6, 2011, officers performed a traffic
            stop on a vehicle being driven by Amaya and arrested him on
            traffic charges. A police dog alerted to the passenger seat of
            the vehicle, and the vehicle was searched. They seized two
            cell phones, but no drugs or contraband was discovered in the
            vehicle. The defendant made no statements after his arrest.




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       This address turned out to be the address of Amaya’s parents, where the
government contends Amaya engaged in drug-dealing activities.

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                    DEA officers then obtained a State of Iowa search
             warrant to search Amaya’s residence in Sioux City. During
             the search, the officers seized a quantity of cocaine, a
             motorcycle, a camcorder, and a bill of lading. The officers
             then went to a trailer where Amaya’s parents lived, and
             Amaya’s parents gave the officers consent to search the trailer.
             During that search, the officers seized several vacuum-sealed
             bags, some carbon paper, and some drug records, all of which
             the government contends belong to Amaya.
Report and Recommendation at 2-3. Judge Zoss also made the following findings of fact
concerning the search warrant application for Amaya’s house:
                    In the present case, in Special Agent Jensen’s affidavit
             in support of the search warrant, he recited the following:

                    On 05-05-11, agents of the DEA Tri-State Task
                    Force conducted a trash pull at 2503 Williams
                    Ave., Sioux City, IA. Agents had previously
                    received historical information provided by
                    Didier Cancino-Torres that AMAYA was a
                    crystal methamphetamine distributor that lived in
                    the Transit Plaza area. Cancino further stated
                    Cancino purchased a total of 1.25 pounds of
                    crystal methamphetamine in the Fall to Winter of
                    2010. Cancino described a Dodge pick-up that
                    AMAYA drove at the time that agents
                    subsequently located at 2503 Williams and is still
                    parked in the driveway as of 05-07-11. Agents
                    have conducted surveillance in May, 2011, of
                    AMAYA and determined 2503 Williams is the
                    residence of AMAYA. On 05-05-11, there were
                    two garbage containers at the curb that contained
                    the following items: Two vacuum-sealed bags,
                    one of which smell [sic] strongly of raw
                    marijuana, two digital scale boxes, commonly
                    used in the distribution of drugs, and several


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                    pieces of loose plastic wrap consistent with
                    wrapping drug bundles agents have observed in
                    past drug investigations.

                    On 05-06-11, AMAYA was arrested by agents
                    for Conspiracy to Distribute Methamphetamine,
                    Cocaine, and Marijuana. AMAYA was traffic
                    stopped by officers on 05-06-11 and a K-9
                    alerted to the passenger seat of AMAYA’s GMC
                    Yukon. Seized during the traffic stop were two
                    cell phones, an Apple I-Phone and an LG cell
                    phone belonging to AMAYA.

                   It has been my experience that in previous drug
                   investigations that drug distributors use cell
                   phones to store data, including drug customer
                   numbers, text messages, photos, and
                   incoming/outgoing phone contacts.            Drug
                   traffickers also store drugs, drug pay/owe
                   sheets, drug monies, drug paraphernalia, and
                   other items indicative of drug trafficking in their
                   residences for personal use, later sale, and
                   concealment.
             Gov’t Ex. 1, p. 7.
Report and Recommendation at 7-8. Upon review of the record, I adopt all of Judge
Zoss’s factual findings that have not been objected to by defendant Amaya.


                                II. LEGAL ANALYSIS
                                A. Standard Of Review
      I review the magistrate judge’s report and recommendation pursuant to the statutory
standards found in 28 U.S.C. § 636(b)(1):
             A judge of the court shall make a de novo determination of
             those portions of the report or specified proposed findings or

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              recommendations to which objection is made. A judge of the
              court may accept, reject, or modify, in whole or in part, the
              findings or recommendations made by the magistrate judge.
              The judge may also receive further evidence or recommit the
              matter to the magistrate judge with instructions.
28 U.S.C. § 636(b)(1) (2006); see Fed. R. Civ. P. 72(b) (stating identical requirements);
N.D. IA. L.R. 72, 72.1 (allowing the referral of dispositive matters to a magistrate judge
but not articulating any standards to review the magistrate judge’s report and
recommendation). While examining these statutory standards, the United States Supreme
Court explained:
              Any party that desires plenary consideration by the Article III
              judge of any issue need only ask. Moreover, while the statute
              does not require the judge to review an issue de novo if no
              objections are filed, it does not preclude further review by the
              district judge, sua sponte or at the request of a party, under a
              de novo or any other standard.
Thomas v. Arn, 474 U.S. 140, 154 (1985). Thus, a district court may review de novo any
issue in a magistrate judge’s report and recommendation at any time. Id. If a party files
an objection to the magistrate judge’s report and recommendation, however, the district
court must “make a de novo determination of those portions of the report or specified
proposed findings or recommendations to which objection is made.”                28 U.S.C.
§ 636(b)(1). In the absence of an objection, the district court is not required “to give any
more consideration to the magistrate’s report than the court considers appropriate.”
Thomas, 474 U.S. at 150.
       De novo review, of course, is nondeferential and generally allows a reviewing court
to make an “independent review” of the entire matter. Salve Regina College v. Russell,
499 U.S. 225, 238 (1991) (noting also that “[w]hen de novo review is compelled, no form
of appellate deference is acceptable”); see Doe v. Chao, 540 U.S. 614, 620-19 (2004)

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(noting de novo review is “distinct from any form of deferential review”). The de novo
review of a magistrate judge’s report and recommendation, however, only means a district
court “‘give[s] fresh consideration to those issues to which specific objection has been
made.’” United States v. Raddatz, 447 U.S. 667, 675 (1980) (quoting H.R. Rep. No. 94-
1609, at 3, reprinted in 1976 U.S.C.C.A.N. 6162, 6163 (discussing how certain
amendments affect 28 U.S.C. § 636(b))). Thus, while de novo review generally entails
review of an entire matter, in the context of § 636 a district court’s required de novo
review is limited to “de novo determination[s]” of only “those portions” or “specified
proposed findings” to which objections have been made. 28 U.S.C. § 636(b)(1); see
Thomas, 474 U.S. at 154 (“Any party that desires plenary consideration by the Article III
judge of any issue need only ask.” (emphasis added)). Consequently, the Eighth Circuit
Court of Appeals has indicated de novo review would only be required if objections were
“specific enough to trigger de novo review.” Branch v. Martin, 886 F.2d 1043, 1046 (8th
Cir. 1989). Despite this “specificity” requirement to trigger de novo review, the Eighth
Circuit Court of Appeals has “emphasized the necessity . . . of retention by the district
court of substantial control over the ultimate disposition of matters referred to a
magistrate.” Belk v. Purkett, 15 F.3d 803, 815 (8th Cir. 1994). As a result, the Eighth
Circuit has been willing to “liberally construe[]” otherwise general pro se objections to
require a de novo review of all “alleged errors,” see Hudson v. Gammon, 46 F.3d 785,
786 (8th Cir. 1995), and to conclude that general objections require “full de novo review”
if the record is concise, Belk, 15 F.3d at 815 (“Therefore, even had petitioner’s objections
lacked specificity, a de novo review would still have been appropriate given such a concise
record.”). Even if the reviewing court must construe objections liberally to require de
novo review, it is clear to me that there is a distinction between making an objection and
making no objection at all. See Coop. Fin. Assoc., Inc. v. Garst, 917 F. Supp. 1356, 1373

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(N.D. Iowa 1996) (“The court finds that the distinction between a flawed effort to bring
objections to the district court’s attention and no effort to make such objections is
appropriate.”). Therefore, I will strive to provide de novo review of all issues that might
be addressed by any objection, whether general or specific, but will not feel compelled to
give de novo review to matters to which no objection at all has been made.
       In the absence of any objection, the Eighth Circuit Court of Appeals has indicated
a district court should review a magistrate judge’s report and recommendation under a
clearly erroneous standard of review. See Grinder v. Gammon, 73 F.3d 793, 795 (8th Cir.
1996) (noting when no objections are filed and the time for filing objections has expired,
“[the district court judge] would only have to review the findings of the magistrate judge
for clear error”); Taylor v. Farrier, 910 F.2d 518, 520 (8th Cir. 1990) (noting the
advisory committee’s note to Fed. R. Civ. P. 72(b) indicates “when no timely objection
is filed the court need only satisfy itself that there is no clear error on the face of the
record”); Branch, 886 F.2d at 1046 (contrasting de novo review with “clearly erroneous
standard” of review, and recognizing de novo review was required because objections
were filed). I am unaware of any case that has described the clearly erroneous standard
of review in the context of a district court’s review of a magistrate judge’s report and
recommendation to which no objection has been filed. In other contexts, however, the
Supreme Court has stated the “foremost” principle under this standard of review “is that
‘[a] finding is “clearly erroneous” when although there is evidence to support it, the
reviewing court on the entire evidence is left with the definite and firm conviction that a
mistake has been committed.’” Anderson v. City of Bessemer City, 470 U.S. 564, 573-74
(1985) (quoting United States v. U.S. Gypsum Co., 333 U.S. 364, 395 (1948)). Thus, the
clearly erroneous standard of review is deferential, see Dixon v. Crete Medical Clinic,
P.C., 498 F.3D 837, 847 (8th Cir. 2007) (noting a finding is not clearly erroneous even

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if another view is supported by the evidence), but a district court may still reject the
magistrate judge’s report and recommendation when the district court is “left with a
definite and firm conviction that a mistake has been committed,” U.S. Gypsum Co., 333
U.S. at 395.
       Even though some “lesser review” than de novo is not “positively require[d]” by
statute, Thomas, 474 U.S. at 150, Eighth Circuit precedent leads this court to believe that
a clearly erroneous standard of review should generally be used as the baseline standard
to review all findings in a magistrate judge’s report and recommendation that are not
objected to or when the parties fail to file any timely objections, see Grinder, 73 F.3d at
795; Taylor, 910 F.2d at 520; Branch, 886 F.2d at 1046; see also Fed. R. Civ. P. 72(b)
advisory committee’s note (“When no timely objection is filed, the court need only satisfy
itself that there is no clear error on the face of the record in order to accept the
recommendation.”). In the context of the review of a magistrate judge’s report and
recommendation, I believe one further caveat is necessary: a district court always remains
free to render its own decision under de novo review, regardless of whether it feels a
mistake has been committed. See Thomas, 474 U.S. at 153-54. Thus, while a clearly
erroneous standard of review is deferential and the minimum standard appropriate in this
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context, it is not mandatory, and I may choose to apply a less deferential standard.

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          The Eighth Circuit Court of Appeals, in the context of a dispositive matter
originally referred to a magistrate judge, does not review a district court’s decision in
similar fashion. The Eighth Circuit Court of Appeals will either apply a clearly erroneous
or plain error standard to review factual findings, depending on whether the appellant
originally objected to the magistrate judge’s report and recommendation. See United States
v. Brooks, 285 F.3d 1102, 1105 (8th Cir. 2002) (“Ordinarily, we review a district court’s
factual findings for clear error . . . . Here, however, the record reflects that [the
appellant] did not object to the magistrate’s report and recommendation, and therefore we
                                                                             (continued...)

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       As noted above, defendant Amaya has filed objections to Judge Zoss’s Report and
Recommendation.       I, therefore, undertake the necessary review of Judge Zoss’s
recommended disposition of defendant Amaya’s motion to suppress.




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         (...continued)
review the court’s factual determinations for plain error.” (citations omitted)); United
States v. Looking, 156 F.3d 803, 809 (8th Cir. 1998) (“[W]here the defendant fails to file
timely objections to the magistrate judge’s report and recommendation, the factual
conclusions underlying that defendant’s appeal are reviewed for plain error.”). The plain
error standard of review is different than a clearly erroneous standard of review, see
United States v. Barth, 424 F.3d 752, 764 (8th Cir. 2005) (explaining the four elements
of plain error review), and ultimately the plain error standard appears to be discretionary,
as the failure to file objections technically waives the appellant’s right to appeal factual
findings, see Griffini v. Mitchell, 31 F.3d 690, 692 (8th Cir. 1994) (stating an appellant
who did not object to the magistrate judge’s report and recommendation waives his or her
right to appeal factual findings, but then choosing to “review[] the magistrate judge’s
findings of fact for plain error”). An appellant does not waive his or her right to appeal
questions of law or mixed questions of law and fact by failing to object to the magistrate
judge’s report and recommendation. United States v. Benshop, 138 F.3d 1229, 1234 (8th
Cir. 1998) (“The rule in this circuit is that a failure to object to a magistrate judge’s report
and recommendation will not result in a waiver of the right to appeal ‘”when the questions
involved are questions of law or mixed questions of law and fact.”’” (quoting Francis v.
Bowen, 804 F.2d 103, 104 (8th Cir. 1986), in turn quoting Nash v. Black, 781 F.2d 665,
667 (8th Cir. 1986))). In addition, legal conclusions will be reviewed de novo, regardless
of whether an appellant objected to a magistrate judge’s report and recommendation. See,
e.g., United States v. Maxwell, 498 F.3d 799, 801 n.2 (8th Cir. 2007) (“In cases like this
one, ‘where the defendant fails to file timely objections to the magistrate judge’s report and
recommendation, the factual conclusions underlying that defendant’s appeal are reviewed
for plain error.’ We review the district court’s legal conclusions de novo.” (citation
omitted)).

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                    B. Objections To Report and Recommendation
       1.     Misidentification of defendant Amaya’s trucks
       Defendant Amaya objects to the misidentification of two trucks used by him.
Specifically, defendant Amaya objects to the portion of the Report and Recommendation
which states: “on the day the search warrant was issued, a drug dog alerted to Amaya’s
vehicle. The vehicle was routinely parked in the driveway of Amaya’s residence.” Report
and Recommendation at 9. Defendant Amaya contends that this portion of the Report and
Recommendation is referring to a GMC Yukon but the search warrant affidavit does not
support this finding.
       The search warrant application refers to defendant Amaya using two trucks. First,
a dark gray or blue/gray 2003 or 2004 Dodge pickup was identified by Cancino as being
the vehicle Amaya drove at the time Cancino purchased methamphetamine from Amaya.
This vehicle was seen parked in the driveway of defendant Amaya’s home on May 5,
2011. The second vehicle, a GMC Yukon, was seized following a traffic stop and a drug
dog’s alert to the front passenger seat on May 6, 2011. Defendant Amaya was arrested
at that time on drug offenses.
       To the extent the Report and Recommendation appears to find that the GMC Yukon
“was routinely parked in the driveway of Amaya’s residence,” this finding is not supported
by facts in the record. The Dodge pickup is the only vehicle referred to in the search
warrant application as being seen or found parked at defendant Amaya’s residence.
Therefore, this objection to the Report and Recommendation is sustained. However, this
fact does not affect my conclusion regarding probable cause. Although the Dodge pickup
was the only vehicle placed at defendant Amaya’s residence in the search warrant
application, this is the vehicle identified by Cancino as being used by Amaya when he sold
methamphetamine to Cancino.

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       2.     Lack of evidence of controlled substances sales at residence
       Defendant Amaya also objects to Judge Zoss’s failure “to consider that there is
nothing to show controlled substances are being sold from [defendant Amaya’s]
residence.” Defendant’s Obj. at 1. Defendant Amaya argues that in the absence of such
evidence from the search warrant application, that document lacks probable cause for a
search of his residence. Defendant Amaya misunderstands the appropriate standard for
issuance of a search warrant and seems to believe that in order to justify a search warrant,
the affidavit must establish probable cause of drug dealing. The absence of evidence of
drug dealing occurring at defendant Amaya’s residence is not dispositive on the issue of
probable cause.    Rather, “‘[i]f an affidavit in support of a search warrant sets forth
sufficient facts to lead a prudent person to believe that there is a fair probability that
contraband or evidence of a crime will be found in a particular place, probable cause to
issue the warrant has been established.’” United States v. Hudseth, 525 F.3d 667, 675
(8th Cir. 2008) (quoting United States v. Grant, 490 F.3d 627, 631 (8th Cir. 2007))
(quoting in turn Illinois v. Gates, 462 U.S. 213, 238 (1983))(internal quotation marks
omitted). “‘Whether probable cause to issue a search warrant has been established is
determined by considering the totality of the circumstances, and resolution of the question
by an issuing judge should be paid great deference by reviewing courts.’” Id. (quoting
Grant, 490 F.3d at 631-32) (quoting in turn Gates, 462 U.S. at 236) (internal quotation
marks omitted). Sufficiency of the affidavit is not determined by a piecemeal approach,
and the elements of the affidavit should not be read in isolation. United States v. Sumpter,
669 F.2d 1215, 1218 (8th Cir. 1982). “Applications and affidavits should be read with
common sense and not in a grudging, hyper technical fashion.” United States v. Ventresca,
380 U.S. 102, 109 (1965); accord United States v. Ryan, 293 F.3d 1059, 1061 (8th Cir.
2002) (“Search warrant ‘[a]pplications and affidavits should be read with common sense

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and not in a grudging hyper technical fashion.’” ) (quoting United States v. Goodman, 165
F.3d 610, 613 (8th Cir. 1999)).
      The search warrant application affidavit contained information from Cancino, a
cooperating individual, that Amaya was a large-scale drug dealer. Cancino also described
the vehicle Amaya was driving. Cancino’s information was corroborated when the officers
located the vehicle described by the informant parked in Amaya’s driveway. In a trash
pull at Amaya’s residence, officers found items consistent with drug dealing activities,
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including a bag smelling strongly of marijuana and two digital scale boxes.

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        The results of the trash pull alone would have been sufficient to generate probable
cause to search defendant Amaya’s house. See United States v. Timley, 443 F.3d 615 (8th
Cir. 2006); United States v. Briscoe, 317 F.3d 906, 907–08 (8th Cir. 2003). In Timley,
the Eighth Circuit Court of Appeals referred to the trash search in Briscoe and stated:

              Similarly here, the trash pulls established probable cause to
              believe Timley, or someone else at Timley’s residence, was
              engaged in distribution of marijuana. One trash pull revealed
              eleven baggies with marijuana residue on them, leading to the
              inference that marijuana had been or was being packaged for
              distribution. Moreover, on the other trash pull, officers found
              a quantity of marijuana in a large trash bag, leading to an
              inference that marijuana had been transported in that bag and
              that it was more than a user quantity. As in Briscoe,
              distribution of marijuana is both a federal and state crime. 21
              U.S.C. § 841(b)(1)(D); Mo.Rev.Stat. § 195.211.

Timley, 443 F.3d at 625. The Eighth Circuit Court of Appeals concluded that the
information regarding the two “trash pulls” was sufficient probable cause to support the
warrant’s issuance. Id. In this case, Agent Jensen came across a vaccum-sealed bag that
smelled strongly of raw marijuana as well as two boxes for digital scales, which are
commonly used to distribute drugs, and loose plastic wrap, which was consistent with
wrapping materials Agent Jensen had observed in past investigations. The discovery of
                                                                          (continued...)

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Then officers made a traffic stop of Amaya’s vehicle, and a drug dog alerted to the
passenger seat. Two cell phones were found in the vehicle. Considering the totality of
the circumstances in a commonsense, practical way, I find that the search warrant affidavit
would lead a prudent person to believe that there was a fair probability that drugs or
evidence of drug sales would be found in defendant Amaya’s residence. See Gates, 462
U.S. at 238; Hudseth, 525 F.3d at 675; Grant, 490 F.3d at 631. Accordingly, I find
probable cause existed to issue the search warrant and defendant Amaya’s objection is
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overruled.


       5
         (...continued)
these items in the trash at defendant Amaya’s residence is enough to establish probable
cause. Defendant Amaya argues that Agent Jensen’s affidavit lacks sufficient detail about
his training and experience to support the assertions he makes in his affidavit regarding the
smell of marijuana, or the use of digital scales and plastic wrapping in drug trafficking.
As the court reads Agent Jensen’s affidavit, he indicates that he has been employed as a
Special Agent with the Drug Enforcement Administration (“DEA”) for nine years and is
assigned to the DEA Tri State Drug Task Force, Sioux City, Iowa. Moreover, he avers
that he has training and experience regarding drug traffickers’ keeping of drug transaction
and communication records as well as their use of tools of the drug trade. Although Agent
Jensen could clearly have added additional pertinent details to his affidavit concerning his
work history and training in law enforcement, from the information contained in his
affidavit the reviewing magistrate could clearly find he is a experienced and well-qualified
in the investigation of drug crimes. Experienced law enforcement officers may “‘draw
reasonable inferences from the facts based on their training and experience.’” United
States v. Hicks, ---F.3d---, 2011 WL 2084070, at *8 (7th Cir. May 27, 2011) (quoting
United States v. Elst, 579 F.3d 740, 746 (7th Cir. 2009)). The magistrate reviewing Agent
Jensen’s factual basis for probable cause was entitled to rely on Jensen’s experience and
any reasonable inferences drawn from that experience.
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       However, even if there was no probable cause to issue the search warrant, the
Leon good-faith exception applies here. “Under the Leon good-faith exception, disputed
evidence will be admitted if it was objectively reasonable for the officer executing a search
                                                                               (continued...)

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      3.     Staleness
      Defendant Amaya also objects to Judge Zoss’s conclusion that the information
contained in the search warrant application was not stale. Defendant Amaya contends that
the information provided concerning the alleged methamphetamine sales between him and
Cancino was stale and, as a result, probable cause did not exist at the time the search
warrant was issued.
      “It is axiomatic that probable cause must exist at the time of the search and not
merely at sometime earlier.” United States v. Kennedy, 427 F.3d 1136, 1141 (8th Cir.
2005); see United States v. Formaro, 152 F.3d 768, 771 (8th Cir. 1998); United States v.
Ozar, 50 F.3d 1440, 1446 (8th Cir. 1995). Therefore, a lapse of time, between the
observations of a witness and the issuance of a search warrant “may make probable cause
fatally stale.” United States v. Maxim, 55 F.3d 394, 397 (8th Cir. 1995). However, the
Eighth Circuit Court of Appeals has instructed that: “‘We have no ‘fixed formula’ for
deciding when information has become stale, but we consider the nature of the crime being
investigated and the property to be searched.’” United States v. Nieman, 520 F.3d 834,
839 (8th Cir. 2008) (quoting United States v. Stevens, 439 F.3d 983, 988 (8th Cir. 2006)
(citation omitted)); see Maxim, 55 F.3d at 397. Thus, the passage of time alone is “not


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        (...continued)
warrant to have relied in good faith on the judge’s determination that there was probable
cause to issue the warrant.” Grant, 490 F.3d at 632. “In assessing whether the officer
relied in good faith on the validity of a warrant, we consider the totality of the
circumstances, including any information known to the officer but not included in the
affidavit, and we confine our inquiry to the objectively ascertainable question whether a
reasonably well trained officer would have known that the search was illegal despite the
[issuing judge’s] authorization.” Id. (internal quotation marks and citations omitted).
Here, based on the affidavit, a reasonably well-trained officer would not have known that
the search was illegal despite the issuing magistrate’s authorization.

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always the controlling factor,” since other factors, such as “the nature of the criminal
activity involved and the kind of property subject to the search,” may also be relevant to
the staleness calculus. Maxim, 55 F.3d at 397 (citing United States v. Koelling, 992 F.2d
817, 822 (8th Cir. 1993)). Moreover,“‘where recent information corroborates otherwise
stale information, probable cause may be found.’” Ozar, 50 F.3d at 1446 (quoting United
States v. Macklin, 902 F.2d 1320, 1326 (8th Cir. 1990)). “The passage of time between
the transactions on which a warrant is based and the ensuing search is less significant when
the facts recited indicate activity of a continuous nature.” United States v. Jones, 801 F.2d
304, 314 (8th Cir.1986); see also United States v. Rugh, 968 F.2d 750 (8th Cir. 1992).
As the Second Circuit Court of Appeals has noted: “‘[N]arcotics conspiracies are the very
paradigm of the continuing enterprises for which the courts have relaxed the temporal
requirements of non-staleness.’” United States v. Rowell, 903 F.2d 899, 903 (2d Cir.
1990).     The Eighth Circuit Court of Appeals has similarly observed that:             “‘In
investigations of ongoing narcotic operations, “intervals of weeks or months between the
last described act and the application for a warrant [does] not necessarily make the
information stale.’”” United States v. Smith, 266 F.3d 902, 905 (8th Cir. 2001) (quoting
Formaro, 152 F.3d at 771); United States v. Pitts, 6 F.3d 1366, 1369 (9th Cir. 1993)
(“‘With respect to drug trafficking, probable cause may continue for several weeks, if not
months, of the last reported instance of suspect activity.’”) (quoting United States v.
Angulo-Lopez, 791 F.2d 1394, 1399 (9th Cir. 1986)).
         The search warrant application reflects an investigation of drug trafficking. The
search warrant application detailed Cancino’s purchase of 1.25 pounds of
methamphetamine from defendant Amaya beginning in the fall of 2010 and continuing into
the winter of 2011. The search warrant application was further supported by Agent
Jensen’s finding of materials in a trash pull at Amaya’s residence the day before the search

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warrant was issued. Then, on the day the search warrant was issued, when officers made
a traffic stop of Amaya’s vehicle, a drug dog alerted to the passenger seat and two cell
phones were found in the vehicle. Therefore, considering the totality of the information
provided to the state magistrate, I conclude the search warrant for defendant Amaya’s
residence was not based on stale information. See Smith, 266 F.3d at 905; Formaro, 152
F.3d at 771; see also United States v. Hartje, 251 F.3d 771, 775 (8th Cir.
2001)(concluding that a drug transaction one month prior to the search warrant application
did not constitute stale information in light of the ongoing nature of the crime). Therefore,
this objection is also overruled.


                                    III. CONCLUSION
       Therefore, for the reasons set forth above, I, upon a de novo review of the record,
accept Judge Zoss’s Report and Recommendation and deny defendant Amaya’s motion to
suppress.
       IT IS SO ORDERED.
       DATED this 6th day of September, 2011.


                                                  __________________________________
                                                  MARK W. BENNETT
                                                  U. S. DISTRICT COURT JUDGE
                                                  NORTHERN DISTRICT OF IOWA




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